UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


 BAYRAM SAHIN,                                        Criminal Docket No.: 99-CR-530

              Petitioner,                             Civil Docket No.:       $7 (-43'5
                                                                              _______________

                        -vs-
                                                      PETITION FOR WRIT OF ERROR
 UNITED STATES OF AMERICA,                            CORAM NOBIS

               Respondent.




       Petitioner, Bayram Sahin (“Petitioner”), by and through Counsel, Raymond Lahoud of

Baurkot & Baurkot, hereby Petitions that this Court issue a Writ of Error Coram Nobis, vacating

his plea, conviction and sentence, entered on the 14th day of October, 1999, before this Court in

the captioned Docket.

        Should the Court require additional evidence prior to entering a decision on Petitioner’s

Matter, Petitioner requests that this Court conduct an evidentiary hearing.

       In support of his Petition, Petitioner states what follows.

I.     FACTUAL AND PROCEDURAL HISTORY

       a.      Prior and Subsequent to Petitioner’s Plea and Sentencing

       Petitioner is an adult individual who is currently residing in Turkey. See Exhibit A

(Affidavit). He first entered the United States on July 29, 1997 as an immigrant. See Exhibit B

(Notice to Appear issued by the Department of Homeland Security (“DHS”)). On October 13,

1999, Petitioner, and his brother, Osman Sahin (“Osman”), were encountered at Malone, New




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York and questioned by Customs and Border Patrol (“CBP”) officials. See Exhibit C (Record of

Deportable Alien issued by DHS). CBP officials only questioned Petitioner and Osman briefly

and let them continue on their way. Id. At this time, only Petitioner and Osman were driving

together. Id.

          Later that same day, the vehicle in which Petitioner and Osman were riding was noticed

driving southbound on Route 30, away from Malone, New York. Id. The vehicle now contained

three (3) individuals. Id. The three individuals—Petitioner, Osman and a third male of Turkish

nationality—were stopped and were taken into custody. Id. All three remained in custody. Id.

          On October 14, 1999, the very next day, Petitioner was charged by an Information filed

with this Court of violating Section 1324(a)(2)(a), Title 8 of the United States Code, which

states:

                 [a]ny person who, knowing or in reckless disregard of the fact that
                 an alien has not received prior official authorization to come to,
                 enter, or reside in the United States, brings to or attempts to bring
                 to the United States in any manner whatsoever, such alien,
                 regardless of any official action which may later be taken with
                 respect to such alien shall, for each alien in respect to whom a
                 violation of this paragraph occurs—be fined in accordance with
                 title 18 or imprisoned not more than one year, or both . . . .

See Exhibit D (Information). The Information alleged that Petitioner and Osman “knowingly,

willfully, intentionally and unlawfully [brought] to the United States, Yusuf Cakmak, an alien,

knowing and in reckless disregard of the fact that such alien had not received prior official

authorization to come to, enter or reside in the United States.” Id. On the same day that the

Information was filed – less than twenty four (24) hours after he was arrested and interrogated

for hours throughout the night of October 13, 1999 and into the morning of October 14, 1999,

despite being unable to speak English or get any sleep while in federal custody – Petitioner

consented to proceed before a United States Magistrate Judge, waived his right to a lawyer,



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agreed to proceed pro se, waived his right to a jury trial, waived his right to a trial, agreed to

enter a guilty plea, appeared before a United States Magistrate Judge, entered a guilty plea, again

waived all of his rights, made an “all-out” allocution, refused free legal assistance, agreed to be

sentenced, waived his right to any appeal and was sentenced. See Exhibits A, E (Consent to

Proceed Before United States Magistrate Judge and Waivers), F (Judgment Order) & G

(Transcript of Plea and Sentencing). A case that would normally take months, if not years, to

complete, took only a few hours for Petitioner, an uneducated, non-English speaking immigrant

from Turkey. Id.

       On October 14, 1999, at approximately noon, Petitioner appeared, together with an

interpreter and Osman, before the Honorable Judge Henry C. Van Acker, Jr. (“Judge Acker”).

See Ex. G. At this hearing – the first and only hearing related to the charges levied against

bother Petitioner and Osman – both pleaded guilty to violating Section 1324(a)(2)(a), Title 8 of

the United States Code, were sentenced to a term of imprisonment of thirty (30) days and were

not fined or required to serve any probationary period following their release. See Ex. G.

Petitioner served his sentence and was released from federal custody.

       On November 19, 1999, removal proceedings were commenced against Petitioner. See

Ex. A. Petitioner appeared before the Immigration Court at Hartford, Connecticut on January 25,

2000. See Exhibit H (Transcripts of Removal Proceedings). Petitioner was charged as being

removable pursuant to Section 237(a)(1)(E)(i) of the Immigration and Nationality Act (the

“INA” or the “Act”), which states, in pertinent part:

               Any alien who (prior to the date of entry, at the time of any entry,
               or within 5 years of the date of any entry) knowingly has
               encouraged, induced, assisted, abetted, or aided any other alien to
               enter or to try to enter the United States in violation of law is
               deportable.




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See Ex. A.     This charge of removability was the direct result of the federal conviction

(Petitioner’s plea and sentencing) before this Court. See Ex. H. Petitioner was not in custody of

any federal agency when appearing before the Immigration Court. Id.

       On October 24, 2000, the Immigration Court found Petitioner removable as charged by

DHS and order him removed to Turkey.           Id.   Petitioner’s immigration counsel reserved

Petitioner’s right to appeal. Id. Petitioner timely appealed to the Board of Immigration Appeals

(the “BIA” or the “Board”). See Exhibit I (BIA Case Appeal Docket Sheet). On September 26,

2002, the Board affirmed the Immigration Court’s decision. Id. A petition for review was filed

with the Second Circuit Court of Appeals on October 18, 2002. See Exhibit J (Second Circuit

Docket Sheet). On April 14, 2005, the Petition for Review was dismissed by the Second Circuit

Court of Appeals. Id.

       In 2012, years after his plea, sentencing and the entry of a removal order, Petitioner was

taken into DHS custody, separated from his family, friends and community. Rather than deport

Petitioner in 1999, 2000, 2001, 2002, 2003, 2004, straight through to the time the Second Circuit

Court of Appeals dismissed his Petition for Review, DHS waited nearly a decade from the date

of Petitioner’s minor conviction and more than five years from the date the Second Circuit

dismissed his Petition for Review, to actually execute the removal order entered by the

Immigration Court in Hartford, Connecticut on October 25, 2000.         Now, Petitioner sits in

Turkey, afraid for his life and his family, and suffering the consequences of a plea, unlawfully

entered at proceedings that fell well short of providing due process, made more than a decade

ago.




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       b.      Petitioner’s Plea and Sentencing: Thirty Minutes of Errors

       At noon on October 14, 1999, Petitioner appeared with his brother, Osman, before Judge

Acker. This appearance was less than twenty four (24) hours from their initial arrest. Both

Petitioner and Osman appeared pro se. This hearing was riddled with substantive errors. At the

outset, Judge Acker conducted the hearing in a “nonchalant” manner, spelling Petitioner’s name

incorrectly and, minutes later, conceding that he could not identify which defendant was

Petitioner and which Osman.

       Judge Acker presented Petitioner with an English-only copy of the charges that had been

levied against him, and told the interpreter to let Petitioner and Osman know what they stood

charged with. Judge Acker then told Petitioner and Osman that “they’re accused of trying to

help Mr. Cakmak, the other gentleman who was here, to enter the United States illegally

yesterday.” (Tr. at 2). This was the extent of the discussion of the charges – Judge Acker failed

to discuss the specific elements of the crime charged and the requirement of mens rea.

Moreover, there is only one instance in which the transcript of the arraignment indicates that

anything was translated to Petitioner: after Judge Acker stated that they had been “arrested for

violating the laws of the United States,” there is note that this was translated to Respondent and

Osman; nowhere else is it definitively noted that anything was translated. (See generally Tr.).

       Judge Acker hurried through the rest of the hearing, ignoring moments that should have

given him great pause and demanded that he either seek or issue clarification on a number of

issues. Judge Acker told Petitioner and Osman that they had a right to plead guilty and a right to

a lawyer. Immediately thereafter, Judge Acker emphasized the potential penalties: “[i]f they are

found guilty, the maximum they could receive is a year in jail and a fine of $100,000. A lawyer

for the government recommends that if they say they’re guilty today, they would receive a jail




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sentence of 30 days.” (Id. At 2). Never did Judge Acker indicate the minimum penalty allowed

under the statute. (See generally id.). Judge Acker asked if the interpreter went over the consent

forms with Petitioner and Osman. After the interpreter said that he did and told Judge Acker

Petitioner and Osman would plea guilty, the interpreter and Judge Acker proceeded to converse

in English:

       THE INTERPRETER:               He ask me the question, I’ll have to tell you,
                                      your Honor, he says can one of us be free
                                      and the other one take the sentence? I said
                                      were you together? And he said yes.

       THE COURT:                     Well, it’s a good question, but the answer is
                                      no. So, once again, if they wish to say
                                      they’re guilty, I’m going to ask them to sign
                                      those forms.

(Id. at 2). Then, Judge Acker asked the interpreter if “they” understood why they were arrested,

the interpreter said they did, and the judge accepted their guilty pleas. There is no indication that

the interpreter actually interpreted what Judge Acker was saying; he may have simply been

answering the court’s questions based upon his assumptions as to Petitioner and Osman would

say. This hearing was riddled with clear errors, necessitating this Court’s review as to whether

Petitioner’s due process rights were even interpreted, let alone protected.

       Petitioner continues to claim that he would not have pled guilty had he been advised, in

his language, in a proper manner, his rights. Further, since that very day, Petitioner contends that

he did not commit the acts required to violate the law under which he was convicted. See 8

U.S.C. Sec. 1324(a)(2)(a).

II.    JURISDICTION

       Jurisdiction is properly laid in this District. The District Court for the Northern District

of New York had original jurisdiction in Petitioner’s criminal matter. Petitioner was charged by




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the United States Attorney for the Southern District of New York, entered a plea of guilty before

this Court and was sentenced by this Court. This Court, therefore, has jurisdiction with respect

to the granting of this Petition:

                [a]s a historical matter, the writ of coram nobis was used by a court
                to correct its own errors. The term coram nobis, defined in Black's
                Law Dictionary as ‘before us,’ comes from the phrase ‘error quae
                coram nobis resident,’ which means, literally, an error ‘which
                remains in our presence.’ Thus, at common law, the writ was used
                by a court in cases within its own jurisdiction, not to correct errors
                in other jurisdictions.


Finkelstein v. Spitzer, 455 F.3d 131 (2d Cir. 2006) (internal citations omitted). The Supreme

Court has noted that the writ of error coram nobis “has been used, in the United States, with and

without statutory authority but always with reference to its common-law scope.” Morgan, 346

U.S. at 508. The All Writs Act, from which the federal courts derive their power to issue writs

of error coram nobis, provides that "[t]he Supreme Court and all courts established by Act of

Congress may issue all writs necessary or appropriate in aid of their respective jurisdictions and

agreeable to the usages and principles of law," 28 U.S.C. § 1651(a).

        The text of the statute clearly vest jurisdiction in this Court. Id.; see also Booker v.

Arkansas, 380 F.2d 240, 244 (8th Cir.1967) (holding that "[r]elief by the writ . . . is available, if

at all, only in the court which rendered the judgment under attack"); Thomas v. Cunningham,

335 F.2d 67, 69 (4th Cir.1964) (stating that "[e]rror coram nobis . . . cannot issue under the

instant proceeding... for the judgments are not in the court” where the petition was filed); Lowery

v. McCaughtry, 954 F.2d 422, 423 (7th Cir. 1992) (holding that petitioner’s “counsel conceded

that she had not found even one decision in the history of the United States using coram nobis to

set aside a judgment rendered by another court.").




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III.   ARGUMENTS

       a.      The Writ of Coram Nobis is Petitioner’s Only Available Relief

       The ancient common law writ of error coram nobis survives by way of the All Writs Act.

See 28 U.S.C. § 1651(a); see also Morgan, 346 U.S. 502 at 511. The writ is an extraordinary

remedy available under compelling circumstances to address errors of the most fundamental

nature. See Morgan, 346 U.S. at 511-12. “Coram nobis is not a substitute for appeal, and relief

under the writ is strictly limited to those cases in which errors . . . of the most fundamental

character have rendered the proceeding itself irregular and invalid.” Foont v. U.S., 93 F.3d 76,

78 (2d Cir.1996).

       The All Writs Act is a residual source of authority to issue writs not otherwise authorized

by statute. See Carlisle v. United States, 517 U.S. 416, 428-29, 116 S.Ct. 1460, 134 L.Ed.2d 613

(1996). When a particular issue is addressed by statute, it is that statute, not the All Writs Act,

which controls. See id. As for the continued significance of the writ in contemporary criminal

proceedings, it has been said that “it is difficult to conceive of a situation . . . where [a writ of

coram nobis] would be necessary or appropriate.” Carlisle, 517 U.S. at 429, 116 S.Ct. 1460

(internal quotation marks omitted); see also Morgan, 346 U.S. at 512, 74 S.Ct. 247 (holding that

when “no other remedy being then available and sound reasons existing for failure to seek

appropriate earlier relief, this motion in the nature of the extraordinary writ of coram nobis must

be heard by the federal trial court”); Fleming v. United States, 146 F.3d 88, 89-90 (2d Cir.1998)

(stating that “coram nobis is essentially a remedy of last resort for petitioners who are no longer

in custody pursuant to a criminal conviction and therefore cannot pursue direct review or

collateral relief by means of a writ of habeas corpus.”).




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       Coram nobis is not a substitute for appeal, and relief under the writ is strictly limited to

those cases in which “‘errors . . . of the most fundamental character’” have rendered “‘the

proceeding itself irregular and invalid.’” United States v. Carter, 437 F.2d 444, 445 (5th Cir.)

(per curiam) (quoting United States v. Mayer, 235 U.S. 55, 69, 35 S.Ct. 16, 19-20, 59 L.Ed. 129

(1914)), cert. denied, 403 U.S. 920, 91 S.Ct. 2238, 29 L.Ed.2d 698 (1971). A district court may

issue a writ of error coram nobis pursuant to the All Writs Act, 28 U.S.C. § 1651(a), where

“extraordinary circumstances are present.” Nicks v. United States, 955 F.2d 161, 167 (2d Cir.

1992). The proceedings leading to the petitioner's conviction are presumed to be *79 correct, and

“the burden rests on the accused to show otherwise.” Morgan, 346 U.S. at 512, 74 S.Ct. at 253,

98 L.Ed. at 248; Nicks, 955 F.2d at 167. A petitioner seeking such relief must demonstrate: (1)

that there are “‘circumstances compelling such action to achieve justice,’” id. at 167 (quoting

Morgan, 346 U.S. at 511, 74 S.Ct. at 252-53); (2) “sound reasons exist [ ] for failure to seek

appropriate earlier relief,” Morgan, 346 U.S. at 512, 74 S.Ct. at 253; and (3) the petitioner

“continues to suffer legal consequences from his conviction that may be remedied by granting of

the writ,” Nicks, 955 F.2d at 167.

       Before this Court reaches the three question test, Petitioner must overcome the custody

question. Here, Petitioner has already served the entirety of his sentence and probationary

period. While Petitioner contends that his being subject to deportation and his time in Turkey

was and continues to be a part of a sentence, for purposes of this Petition, he is not in any type of

“official custody,” such as supervised release or probation. See Scanio v. United States, 37 F.3d

858, 860 (2d Cir.1994). There is no other remedy, statutory or other, to vacate or correct the

sentence illegally imposed and the guilty plea illegally gotten that displaces the common law

writ. Carlisle, 517 U.S. at 428-29, 116 S.Ct. 1460. If Petitioner remained in custody, the writ




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would be unavailable. See, e.g., United States v. Mandanici, 205 F.3d 519, 524 (2d Cir. 2000)

(holding that coram nobis is “essentially a remedy of last resort for petitioners who are no longer

in custody pursuant to a criminal conviction”) (internal quotation marks omitted); United States

v. Monreal, 301 F.3d 1127, 1132 (9th Cir.2002); United States v. Torres, 282 F.3d 1241, 1245

(10th Cir.2002); United States v. Johnson, 237 F.3d 751, 755 (6th Cir.2001).

       As noted, Petitioner is not in official custody. Given this, any relief under Section 2255

or the other habeas provisions are unavailable, as they require that Petitioner be in “custody.”

Absent other statutory relief, Petitioner, as a threshold matter, may proceed how he now does.

       Petitioner must further demonstrate: (1) that there are “‘circumstances compelling such

action to achieve justice,’” Morgan, 346 U.S. at 511, 74 S.Ct. at 252-53; (2) “sound reasons exist

[ ] for failure to seek appropriate earlier relief,” Morgan, 346 U.S. at 512, 74 S.Ct. at 253; and

(3) the petitioner “continues to suffer legal consequences from his conviction that may be

remedied by granting of the writ,” Nicks, 955 F.2d at 167. Petitioner clearly meets all three

requirements.

       The circumstances surrounding this Petition are sufficiently compelling so as to warrant

action in the interest of achieving justice. Morgan, 346 U.S. at 511. Here, the circumstances are

dire and will continue until Petitioner’s death: deportation from the United States and living in

exile in Turkey, away from one’s family, friends and community. Further, the due process

concerns Petitioner’s raises in the instant Petition are great and strike at the very heart of the

American justice system. He was a man that was rushed through the process in both his criminal

and immigration related prosecutions.      He was not properly advised of his rights and the

consequences of his plea and how his 1999 plea was certain to affect him for the rest of his life,

as opposed to the thirty (30) days that he was originally sentenced to serve in confinement.




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When taken as a whole, the facts surrounding Petitioner’s claims and the continuing punishment

he suffers as a result of his conviction before this Court warrant this Court’s action, because,

absent said action, the wrongs Petitioner complains of in the instant Petition will never be

corrected.

       Further, sound reason does indeed exist for Petitioner’s failure to seek appropriate relief

earlier. Morgan, 346 U.S. at 512. Petitioner fought his deportation up to the Second Circuit

Court of Appeals. See Ex. J. His Petition for Review was dismissed in 2005. Id. He was free

from any restraint on his liberty from the time he was released from jail, after serving his thirty

(30) day sentence in 1999, until 2012, when DHS, unexpectedly decided to execute a more than

decade old removal order over a very minor conviction at issue in this Petition. Had Petitioner

been aware that DHS waits decades to execute removal orders, permitting those with removal

orders to remain in the United States—allowing them to earn money, buy property, amass Social

Security earnings for future retirement disbursements, have children and the like, Petitioner

would certainly have fought for his freedom to remain in the United States, which was hindered

only by the conviction entered before this Court. Here, it was only upon his 2012 unexpected

arrest that Petitioner actually realized the additional legal determinant that of his 1999 plea.

Shortly after DHS’ arrest and removal of Petitioner did he begin the workings on the instant

Petition in immediately securing Counsel, who embarked on the review of many documents.

       Only complicating Petitioner’s attempt to be relieved of his 1999 plea was that, for years,

immigration consequences of a guilty plea were not thought of as “direct consequences;” rather,

they were “collateral consequences.” Padilla v. Kentucky, 130 S. Ct. 1473 (2010). What falls

within the perimeter of a “direct” consequence has evolved over the years, and, in 2010, the




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Supreme Court came to the conclusion that deportation as a result of a guilty plea is indeed a

“direct” consequence of the guilty plea and is, quite simply, part of one’s sentence:

               We have long recognized that deportation is a particularly severe
               penalty; but it is not, in a strict sense, a criminal sanction.
               Although removal proceedings are civil in nature, deportation is
               nevertheless intimately related to the criminal process. Our law has
               enmeshed criminal convictions and the penalty of deportation for
               nearly a century. And, importantly, recent changes in our
               immigration law have made removal nearly an automatic result for
               a broad class of noncitizen offenders. Thus, we find it “most
               difficult” to divorce the penalty from the conviction in the
               deportation context. Moreover, we are quite confident that
               noncitizen defendants facing a risk of deportation for a particular
               offense find it even more difficult.

               ....

               Deportation as a consequence of a criminal conviction is, because
               of its close connection to the criminal process, uniquely difficult to
               classify as either a direct or a collateral consequence.

Padilla, 130 S. Ct. at 1473. The Padilla decision came years after Petitioner’s arrest, plea and

sentencing before this Court as well as his removal proceedings. When taken in totality, the pre-

Padilla reasoning, the years it took to execute Petitioner’s removal and Petitioner’s quick action

in bringing this Petition before this Court following DHS’ execution of its removal order one can

only find that there exists sound reason as to why Petitioner acts now. Nicks, 955 F.2d at 167.

       Finally, Petitioner clearly continues to suffer the legal consequences of his conviction

that can only be rectified by this Court’s issuance of a Writ. Nicks, 955 F.2d at 167. Petitioner

was deported to Turkey as a result of the plea and sentencing. He is alone. Hours away by

flight. No family. No friends. No job. Deportation is permanent. Deportation is serious.

Deportation is automatic after many criminal convictions. Petitioner’s initial deportation and, for

lack of a better phrase, continued exile in Turkey amounts to a continuing punishment but for his




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1999 conviction. It is a legal consequence that, for Petitioner, will never end, absent the grant of

this Writ. Id.; see also Padilla, 130 S. Ct. at 1473.

       a.       The Court’s Numerous Due Process Deficiencies Throughout
                Petitioner’s Plea and Sentencing and the Continuing Prejudice
                Petitioner Suffers as a Result of Said Deficiencies Require this
                Court’s to Vacate Petitioner’s Plea and the Court’s
                Subsequent Judgment.

       Rule 11 of the Federal Rules of Criminal Procedure (the “FRCP”) governs pleas in

United States District Court. Rule 11(b) outlines several items that a court must inform a

defendant who is facing criminal prosecution. See FRCP Rule 11(b). Rule 11(c) discusses plea

agreements, and what attorneys and the court must and cannot do during plea negotiation

process. See FRCP Rule 11(c). Most of the provisions of Rule 11, including all of Rule 11(b),

are mandatory and are note mere discretionary decisions of the court. See FRCP Rule 11. The

Second Circuit requires district court to strictly adhere to Rule 11. See U.S. v. Renaud, 999 F.2d

622, 624 (2d Cir. 1993).

       A defendant who timely objects to a Rule 11 violation at the trial court is entitled to

review of the error unless the government is able to prove that the violation did not affect the

defendant’s “substantial rights.” U.S. v. Vonn, 535 U.S. 55, 63 (2002). However, as the

Supreme Court stated in Vonn, if a defendant fails to make a proper and timely objection, “the

tables are turned on demonstrating the substantiality of any effect on a defendant's rights: the

defendant who sat silent at trial has the burden to show that his ‘substantial rights’ were

affected”; this is known as the “plain-error rule.” Id. at 62-63. To overcome this burden and

obtain a reversal of conviction, a defendant must show that: (1) the error was “made”; (2) the

error was “plain”; and (3) the error affected the defendant’s “substantial rights.” Id.; U.S. v.

Olano, 507 U.S. 725, 732 (1993). The first and second prongs are relatively straightforward, in




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that an error must occur and that it must be clear or obvious, with a lack of any reasonable

dispute as to whether or not the error actually occurred. U.S. v. Marcus, 130 S.Ct. 2159, 2164

(2010); U.S. v. Salim, 690 F.3d 115, 124 (2d Cir. 2012). The third Olano prong, however, is not

so simple to establish. Olano, 507 U.S. at 732. To meet this prong, a defendant must:

              show a reasonable probability that, but for the error, he would not
              have entered the plea. A defendant must thus satisfy the judgment
              of the reviewing court, informed by the entire record, that the
              probability of a different result is ‘sufficient to undermine
              confidence in the outcome’ of the proceeding.

U.S. v. Dominguez-Benitez, 542 U.S. 74, 82-83 (2004).

              i.       Judge Acker, Jr., violated Rule 11(b) in His Failure to
                       Obtain a Factual Basis for Petitioner’s Conviction.

       A trial judge’s obligation to determine the factual basis for a guilty plea is a vital

protection that is provided to criminal defendants. In McCarthy v. U.S., the Supreme Court

noted the following:

              The judge must determine that the conduct which the defendant
              admits constitutes the offense charged in the indictment or
              information or an offense included therein to which the defendant
              has pleaded guilty. Requiring this examination of the relation
              between the law and the acts the defendant admits having
              committed is designed to protect a defendant who is in the position
              of pleading voluntarily with an understanding of the nature of the
              charge but without realizing that his conduct does not actually fall
              within the charge.

McCarthy v. U.S., 394 U.S. 459, 467 (1969). To establish the required factual basis, a judge

may rely on “any facts at his disposal,” which may or may not include a plea colloquy. Irizarry

v. U.S., 508 F.3d 960, 967 (2d Cir. 1975). The Supreme Court, however, has long held a factual

basis must be developed “on the record,” a rule endorsed by the Notes of the Rule 11 Advisory

Committee. Santobello v. New York, 404 U.S. 257, 261 (1971); FRCP Rule 11 Advisory

Committee Note (1974) (Rule 11(f)). While a judge may rely on a wide array of facts, she still



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must place the facts replied upon “on the record at the time of the plea.” U.S. v. Maher, 108 F.3d

1513, 1524-25 (2d Cir. 1997)(emphasis added).

         In Petitioner’s case, the first two prongs of the three part Olano test– i.e. that the error

was made and that it was plain – are easily established. There exists virtually no discussion on

the record of the underlying facts that lead to Petitioner’s guilty plea. Judge Acker did tell

Petitioner that he had been arrested for “violating the law of the United States,” given the

allegation that he was “trying to help Mr. Cakmak . . . to enter the United States illegally

yesterday.” (Tr. at 2). Beyond that, there is nothing more. (See generally Tr.). That is the

extent of the discussion on the record.          Petitioner was charged with violating Section

1324(a)(2)(A) of Title 8 of the United States Code, which states, in pertinent part that it is a

crime for

                [a]ny person who, knowing or in reckless disregard of the fact that
                an alien has not received prior official authorization to come to,
                enter, or reside in the United States, brings to or attempts to bring
                to the United States in any manner whatsoever.

8 U.S.C. § 1324(a)(2)(A). Judge Acker failed to provide an explanation of the elements of the

charge, and did not even try to elicit any discussion of the acts that allegedly led to Petitioner’s

arrest. Further, Petitioner received no evidence from the United States Government that would

even support his conviction. The only thing that Petitioner had in hand was an English-only

notice of the specific charges levied against him. Judge Acker only noted at the arraignment and

sentencing that he was providing Petitioner and Osman a copy of the document that states the

charges that they both faced. This document was in English, requiring interpreter translation.1

The document “Judgment and Probation/Commitment Order,” however, is the only document

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    Respondent also asserts in his affidavit that the interpreters did not properly
        translate the document or discussions had between Respondent and either
        the CBP officer or Judge Acker, Jr.


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from the arraignment that listed the charge Petitioner faced and the only signature on that

document is that of Judge Acker; there is no evidence to indicate that Petitioner was even shown

the document (of course, Petitioner spoke virtually no English at the time, so even seeing the

document would have been essentially useless). Furthermore, Judge Acker failed to engage in

any dialogue about the event, even through the interpreter.        Instead, mere “yes” or “no”

responses were elicited, which Judge Acker found sufficient to sustain the guilty plea.

       Additionally, Judge Acker, Jr., without even speaking to Petitioner, should been aware

that there was some question as to whether Petitioner’s actions fell within the scope of the crime

for which they were charged. Because Petitioner was arraigned and pleaded guilty mere hours

after the arrest, there is not much documentation that was available for review for Judge Acker at

the time of the plea. However, on page 2 of the Form I-213 drawn up soon after the arrest, a

CBP Officer (whose name has been blocked out in the documents Petitioner’s Counsel has

received in response to a Freedom of Information Act Request) indicated that Petitioner “didn’t

know that [his actions] were against the law, and [was] just helping a friend.” While the CBP

officer notes that Petitioner admitted to picking his friend up in upstate New York, the officer’s

report does not directly indicate that Petitioner was aware of the illegality of Mr. Cakmak’s

entrance into the United States. Petitioner never left the country to pick up Mr. Cakmak, and the

report does not state that Petitioner knew of the illegality of Mr. Cakmak’s entry: it only

indicates Petitioner knew that Mr. Cakmak wanted to leave Turkey because of recent turmoil in

that country, that Mr. Cakmak “affect[ed] his illegal entry” and that Petitioner and Osman picked

him up in the State of New York. If Judge Acker had made any effort to engage in a discussion

with Petitioner, or look at all beyond the Information filed by the United States Attorney, he




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would have known there was some question as to whether Petitioner whether or should have

known knew of the illegal entry, a fact that would negate the mens rea element of the crime.

       . In U.S. v. Andrades, the Second Circuit addressed the serious nature of a failure to put

the factual basis of the plea on the record. In Andrades, a case similar to that at bar, the Court

addressed a defendant’s plea of guilty in federal court to the charge of conspiracy to distribute

narcotics. U.S. v. Andrades, 169 F.2d 131 (2d Cir. 1999). There, the court gave the following

account of the facts:

               The district court . . . failed to elicit from defendant or the
               government a statement of the factual basis for the plea. Instead,
               the following exchange took place:

                   THE COURT:         All right. Count I of the indictment 97-CR-
                                      115 charges, in essence, that on or about
                                      August 1, 1996, continuing through August
                                      31, 1996, that you did knowingly, willfully
                                      and unlawfully conspire with others to
                                      intentionally and unlawfully distribute and
                                      possess with intent to distribute cocaine
                                      base, in violation of federal law. Is this what
                                      you did?

                   DEFENDANT: Yes, sir.

                   THE COURT:         With respect to Count I, then, of indictment
                                      97-CR-115, how do you plead, guilty or not
                                      guilty?

                   DEFENDANT: Guilty, sir.

Id. at 133. The Second Circuit held that this exchange was insufficient to establish a factual

basis for the guilty plea: at “the time of Andrades' plea, the [District Court Judge] did not elicit

any information from defendant or the government. Instead, the Court merely read the bare

bones conspiracy charge from the indictment, which did not identify any coconspirators.” Id. at

133, 136. The Court was gravely concerned at the lack of evidence supporting the conspiracy’s



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critical element.   Id.   Like the Andrades defendant, Petitioner was given a “bare bones”

instruction of the charge, which did not even include a full reading of the statute on the record.

(See generally Tr.). It is difficult to imagine what this meager summary of the statute could

accomplish, particularly given that Petitioner appeared pro se. He learned nothing when handed

a copy of the charges and he spoke no English. To complicate matters further, he was being read

a statute, as only a “layman,” through an interpreter who was not an attorney either. Given these

circumstances, Judge Acker should have engaged in a detailed dialogue with Petitioner, on the

record, to determine whether Petitioner understood the charges against him.

       Indeed, a “reading of the indictment to the defendant coupled with his admission of the

acts described in it [is] a sufficient factual basis for a guilty plea, as long as the charge is

uncomplicated, the indictment detailed and specific, and the admission unequivocal.” U.S. v.

O’Hara, 960 F.2d 11, 13 (2d Cir. 1992) (internal quotations and citations omitted) (brackets in

original). Petitioner, however, was never read a “detailed and specific” indictment and there was

no “unequivocal” admission. The indictment was never put on the record; further, Petitioner

never admitted to the underlying acts of the charge. He simply stated he would plead guilty.

       Additionally, one of the defendants asked if either Petitioner or Osman could take both of

the charges and accept both punishments while the other went free: this, alone, should have been

a clear indicator to Judge Acker that neither Petitioner nor Osman were aware of the nature of

the proceedings. Perhaps more importantly, this question could have indicated that one of the

defendants (and Judge Acker freely admitted he did not know which one was which) believed in

his innocence, that the other wanted to take the punishment for the crime, and that at least one of

them was pleading guilty simply to avoid dealing with the matter any further. Regardless, this




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statement warranted at least an inquiry from Judge Acker – something he failed to do.

Petitioner’s substantive rights were clearly violated. Olano, 507 U.S. at 732.

       Likewise, the third prong of the Olano test – that Petitioner’s substantive rights were

violated – has been met. The Second Circuit noted that in “the context of a Rule 11 error, this

standard requires a reasonable probability that, but for the error, [the defendant] would not have

entered the plea.”    U.S. v. Garcia, 587 F.3d 509, 520 (2d Cir. 2009). Further, the Court has

noted the particularly severe judicial defect in not establishing a factual basis for the plea:

               A lack of a factual basis for a plea is a substantial defect calling
               into question the validity of the plea . . . . Such defects are not
               technical, but are so fundamental as to cast serious doubt on the
               voluntariness of the plea . . . and require reversal and remand so
               that the defendant may plead anew or stand trial.

U.S. v. Adams, 448 F.3d 492, 502 (2d Cir. 2006). Here, is clear that there existed no factual

basis for the plea; thus a “substantial defect” occurred. Petitioner, moreover, has indicated in

multiple affidavits that he was not aware of Cakmak’s illegality, and as discussed supra, the

report from one of the CBP arresting officers in this case indicated that Cakmak was here

illegally and that Petitioner tried to drive him from New York to Connecticut, but not that

Petitioner was aware of Cakmak’s illegality. This would negate one of the elements of the crime

for which he was convicted, which would obviously affect whether Petitioner would have

pleaded guilty. Thus, the third and final prong of Olano’s three prong rest has been met. Olano,

507 U.S. at 732.

       Petitioner’s position is strongly supported by this Court. For example, in Tocci v. U.S.,

this Court confronted a case similar to the one at bar. Tocci, 178 F.Supp.2d 176 (N.D.N.Y

2001). In Tocci, the defendant was stopped when entering the United States at the New York

border. In the car’s trunk, authorities found an undocumented alien. Id. at 178. The defendant




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was charged with the same statute as Petitioner. Id. at 179. He was arraigned hours later, signed

a waiver of right to counsel, and pleaded guilty.         Id.     He was then placed into removal

proceedings. Id. This Court held that the defendant’s substantive rights to due process had been

violated, throwing out the guilty plea, given the lack of a factual basis:

               Here, the record reveals no factual basis for Tocci's plea. The
               court summarized the charge to Tocci as part of the advice of
               rights. Tocci was never specifically asked if he committed the acts
               alleged and Tocci's general acknowledgment of guilt did not
               respond, directly or indirectly, to the court's reading of the charge.
               Nowhere in the record is there indicated the identity of the alien
               allegedly transported by Tocci, how the transportation took place,
               or what occurred when Tocci and the alien arrived at the Port of
               Entry. Thus, in the circumstances presented here, the mere
               statement of the charge to Tocci coupled with a subsequent guilty
               plea failed to establish the requisite factual basis for the plea.

Id. at 184 (emphasis added). Here, aside from the identity of the person being transported (who

was never identified on the record), all of the parts of the above description apply to the case at

bar. Petitioner was never “specifically asked if he committed the acts alleged,” and there was

nothing on the record to indicate “how the transportation took place.” Id. There was also

nothing on the record showing what happened “at the Port of Entry.” Id. This fact is particularly

relevant here, as Petitioner was not actually caught at the border, but rather inside the United

States, and Cakmak (the allegedly smuggled undocumented alien) was sitting in the backseat in

plain view, not hiding in the trunk. Under these facts, Judge Acker should have had a more

detailed discussion with Petitioner than that had in Tocci. Id.

       This multitude of deficiencies on the part of the Court at the arraignment dictates that this

Court should find that a sufficient factual basis for the Petitioner’s plea was not elicited on the

record. Just as the Tocci Court found that the defendant was denied due process rights, this

Court must find that Petitioner was denied the same. Id. at 184.




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               2.      The District Court did not adequately ensure that
                       Respondent understood the nature of the charges for which
                       he was pleading guilty.

       A trial court must determine that a criminal defendant understands the nature of the

charges levied against him before accepting a guilty plea. FRCP Rule 11(b)(1)(G) states that:

               [b]efore the court accepts a plea of guilty . . . the defendant may be
               placed under oath, and the court must address the defendant
               personally in open court. During this address, the court must
               inform the defendant of, and determine that the defendant
               understands, . . . the nature of each charge to which the defendant
               is pleading.

FRCP Rule 11(b)(1)(G). The Second Circuit has further clarified what is required by this

provision. First, in terms of informing the defendant, the Maher Court noted that to meet the

requirements of Rule 11(b)(1)(G), “[t]he court may . . . inform the defendant of the nature of the

charges by describing the elements of the offense in the court's own words . . . [o]r . . . [by]

provid[ing] that information by reading the indictment to the defendant where the pertinent count

spells out the elements of the offense and the circumstances indicate that this will be sufficient.”

Maher, 108 F.3d at 1521. When a defendant’s admissions indicate a lack of understanding of the

charges he faces, the Rule may also be satisfied when a defendant acknowledges that he read,

understood and discussed the contents of the document with an attorney. See U.S. v. Parkins, 25

F.3d 114, 118 (2d Cir. 1994).

       It is not the mere recitation of the charges that is important; rather it is the understanding

of them that is the underlying purpose of the Rule. In McCarthy, the Supreme Court refuted a

government argument that a guilty plea was valid because the defendant desired to plead guilty

and he was instructed as to the consequences of his plea:

               We cannot accept this argument, [because, inter alia] the Rule is
               intended to produce a complete record at the time the plea is
               entered of the factors relevant to this voluntariness determination



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                  ....
                  ....
                  ....

                  By personally interrogating the defendant, not only will the judge
                  be better able to ascertain the plea's voluntariness, but he also will
                  develop a more complete record to support his determination in a
                  subsequent post-conviction attack
                  ....
                  ....
                  ....

                  Moreover, because a guilty plea is an admission of all the elements
                  of a formal criminal charge, it cannot be truly voluntary unless the
                  defendant possesses an understanding of the law in relation to the
                  facts. To the extent that the district judge thus exposes the
                  defendant's state of mind on the record through personal
                  interrogation, he not only facilitates his own determination of a
                  guilty plea's voluntariness, but he also facilitates that determination
                  in any subsequent post-conviction proceeding based upon a claim
                  that the plea was involuntary. Both of these goals are undermined
                  in proportion to the degree the district judge resorts to assumptions
                  not based upon recorded responses to his inquiries. For this reason,
                  we reject the Government's contention that Rule 11 can be
                  complied with although the district judge does not personally
                  inquire whether the defendant understood the nature of the charge.

McCarthy, 394 U.S. at 465-67 (internal quotations and citations omitted) (emphases added).

Given the importance of these requirements, the Second Circuit requires strict adherence to Rule

11. See, e.g., Parkins, 25 F.3d at 117; Renaud, 999 F.2d at 624; U.S. v. Lora, 895 F.2d 878, 880

(2d Cir. 1990).

       Again, we must apply the three prong Olano test. Olano, 507 U.S. at 732. The first two

prongs of Olano are easily met – i.e. that error was made and that it was plain. Id. As discussed

supra, Judge Acker did not adequately advise Petitioner of the charges against him. Despite the

plain language of the Rule, there is no evidence that indicates that Petitioner was sworn in. Only

the interpreter was sworn in. Petitioner was not personally addressed, except for the final “yes”




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on the guilty plea. There was no discussion of the elements of the charge, other than a bare

summary of the statute, which failed to mention the mens rea element of the crime charged.

       Even assuming, arguendo, that the Court adequately notified Petitioner of the charges,

there exists nothing to indicate that Petitioner understood the charges. Despite the principles

established in McCarthy, no complete record was developed to establish Petitioner’s

understanding of the proceedings; he mostly gave “yes” or “no” answers, and the question about

whether one person could serve both jail terms (it is not clear from the record whether Petitioner

or Osman asked the question) exhibits a lack of awareness of the nature of the criminal charges

and proceedings.    McCarthy, 394 U.S. at 465-67.       Judge Acker did little, if anything, to

“expose[] the defendant's state of mind on the record”; indeed, very little can be ascertained

about Petitioner from the record. Id. One may only assume that Judge Acker determined

Petitioner’s understanding of the charges (along with the factual basis of the conviction) through

the type of “assumptions not based upon recorded responses to his inquires” that the Supreme

Court has strongly denounced. McCarthy, 394 U.S. at 465-67.

       Finally, any notion that the record indicates Petitioner understood the charges against him

is further belied by the absence of legal representation as well as an interpreter who did little

interpreting. At one point during the arraignment, Judge Acker asked the interpreter if he had a

“chance to go over these consent forms with Petitioner. (Tr. at 4). While the interpreter could

provide a literal translation of the words on the page, there was a complete lack of any person

who was legally qualified to explain the meaning or implications of those words. Petitioner’s

lack of counsel at the arraignment should have further prompted Judge Acker to engage in a

meaningful discussion with Petitioner about the charges. Just as the McCarthy Court rejected the




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argument that a court need not “personally inquire [as to] whether the defendant understood the

nature of the charge,” this Court must do the same. McCarthy, 394 U.S. at 465-67.

        The third Olano prong – i.e. prejudice on defendant’s substantive rights – is satisfied.

Olano, 507 U.S. at 732. While McCarthy did not expressly address substantive rights, it did find

that the district court’s failure there to adhere to Rule 11 “deprive[d] the defendant of the Rule's

procedural safeguards that are designed to facilitate a more accurate determination of the

voluntariness of his plea. . . . It is, therefore, not too much to require that . . . district judges take

the few minutes necessary to inform [defendants] of their rights and to determine whether they

understand the action they are taking.” McCarthy, 394 U.S. at 471-72. The Second Circuit has

since addressed the issue of substantive rights. In Andrades, the Second Circuit concluded that

                [t]he district court's effort to ensure that Andrades understood the
                nature of the conspiracy charge was limited to Judge Scullin
                reading the charge and eliciting a “yes, sir” from Andrades. The
                district court elicited a similar response from Andrades' lawyer
                regarding Andrades' understanding of the plea agreement. Judge
                Scullin did not describe the elements of the offense in his own
                words to Andrades. The indictment that Judge Scullin read did not
                outline the elements of the offense or relevant circumstances.
                Furthermore, Judge Scullin did not elicit explanations of the
                charges from the government. Defense counsel advised the court
                that he had discussed the plea agreement with his client, but that
                document did not describe the elements of conspiracy or relevant
                circumstances.

Andrades, 169 F.3d at 135. These deficiencies, the Second Circuit held, clearly violated the

defendant’s substantive rights, warranting the reversal of his conviction. Id.

        Here, Judge Acker did not take the “few minutes” to ensure that Petitioner understood the

nature of the charges against him. McCarthy, 394 U.S. at 471-72. Moreover, he was satisfied

with mere “yes” or “no” answers and failed to discuss, in any detail, the “relevant

circumstances” of the alleged crime. Id. Further, he did not “elicit explanations of the charges




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from the government.” Andrades, 169 F.3d at 135. Petitioner had no attorney present to explain

anything to him at the time of the plea. Had an attorney been present, then, yes, some of these

deficiencies may have been cured. For Petitioner, unfortunately, he did not have counsel, he

spoke no English, he agreed to plead guilty only hours of his arrest for his alleged violation of a

federal charge that would lead to his ultimate removal from the United States. Petitioner

deserved more. The notion of due process, more importantly, demands more. Petitioner’s

substantive rights have been violated, just as those same rights were violated in Andrades. Id.

Given this, this Court must grant this Writ and vacate Petitioner’s sentence and plea. Id.

IV.    CONCLUSION

       For the reasons set forth herein, Petitioner, by and through his Counsel, respectfully

requests that this Court enter an Order granting this Petition and vacating his plea and sentence.

                                                     Respectfully Submitted:

                                                     BAURKOT & BAURKOT


            Dated:     March 27, 2013
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